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                         UNITED STATES DISTRICTCOURT
                       EASTERN DISTRICT OF PENNSYLVANIA

ELBERT ANTHONY GIDDINGS, et al.            :
                                           :
                             Plaintiffs,   :         NO.:   16-4917
                                           :
              v.                           :
                                           :
BROWN & BROWN GENERAL                      :
CONTRACTORS, INC., et al.                  :         JURY TRIAL DEMANDED
                                           :
                             Defendants.   :

            SUGGESTION OF BANKRUPTCY WITH REQUEST FOR STAY

TO THE CLERK:

       Kindly allow this suggestion of bankruptcy of Co-Defendant (Co-Debtor), Brown.

Bankr.E.D.Pa. No. 17-16337, with request for stay.



                                                     WEISBERG LAW


                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     Attorney for Plaintiffs
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                        EASTERN DISTRICT OF PENNSYLVANIA

ELBERT ANTHONY GIDDINGS, et al.              :
                                             :
                              Plaintiffs,    :         NO.:   16-4917
                                             :
               v.                            :
                                             :
BROWN & BROWN GENERAL                        :
CONTRACTORS, INC., et al.                    :         JURY TRIAL DEMANDED
                                             :
                              Defendants.    :

                                CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 20th day of November, 2017,

a true and correct copy of the foregoing Suggestion of Bankruptcy with Request for Stay was

served via regular mail, upon the following parties:

                           Brown & Brown General Contractors, Inc.
                                      3 Mock Drive
                                  Wilmington, DE 19810

                                          Joel Brown
                                         3 Mock Drive
                                     Wilmington, DE 19810



                                                       WEISBERG LAW


                                                       /s/ Matthew B. Weisberg
                                                       MATTHEW B. WEISBERG
                                                       Attorney for Plaintiff
